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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                          CASE NO. 4:15-CR-00233 BSM

OSCAR ESPINOZA LOPEZ, et al.                                             DEFENDANTS


                                        ORDER

       The motion to sever counts 16, 17, 18, and 19 [Doc. No. 181] is denied.

       The motion in limine to preclude the introduction of evidence or testimony regarding

the legal status of defendants Oscar Espinoza Lopez and Raymundo Moreno Lopez [Doc.

No.184] is denied.

       The motion to in limine to preclude the introduction of evidence or testimony that

Oscar Espinoza Lopez possessed a firearm at any time other on August 27, 2013 [Doc. No.

185] is denied.

       IT IS SO ORDERED this 9th day of January 2017.

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                                                       UNITED STATE DISTRICT JUDGE
